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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:09−cr−01058
                                                       Honorable Matthew F. Kennelly
Rogelio Barajas
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 1, 2011:


        MINUTE entry before the Honorable Matthew F. Kennelly:Sentencing held.
Forfeiture allegations dismissed. (or, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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